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                        UNITED STATES OF DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                      MINUTES
  Case Number             Date              Time                   Place            Judge

  1:18-cv-1225        5/3/2019       1:31 PM - 1:58 PM         Grand Rapids      Janet T. Neff


                                       CASE CAPTION
      Plaintiffs:                                                  Defendants:
David Dykehouse, et al.                         The 3M Company, et al.



                                       APPEARANCES
      Attorney:                                              Representing:
Steven David Liddle                             Plaintiffs
Nicholas Alexander Coulson

Daniel L. Ring                                  Defendant The 3M Company
Robert L. DeJong

Dean F. Pacific                                 Defendant Georgia-Pacific LLC
Janet L. Ramsey
Douglas M. Garrou
Michael Randolph Shebelskie



                                       PROCEEDINGS


NATURE OF HEARING: Pre-Motion Conference held regarding ECF Nos. 21, 24; Order to
issue; Defendant Georgia-Pacific LLC’s in-house counsel, Sean Tarantino and John Childs,
also present.

                                 Court Reporter: Paul Brandell
                                 Clerk: Kathleen Geiger-King
